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                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF KENTUCKY
                                     LEXINGTON DIVISION



IN RE:   David A Underwood                                        Case Number: 17-50134
         Debtor



                               UNCLAIMED PROPERTY REPORT

            The Trustee now presents to the Clerk of the US Bankruptcy Court for deposit into the

     Registry of the Court as unclaimed property, the sum of $2898.89, check #1037973, for the

     following reason:

            The Trustee is unable to locate the Debtor.

     PERSONS ENTITLED TO PROPERTY
     AND LAST KNOWN ADDRESS:


     David A Underwood
     3501 Lochdale Terrace
     Lexington, KY 40503


     Dated: November 21, 2017




     /s/ Beverly M. Burden
     Beverly M. Burden, Chapter 13 Trustee
     Ky Bar ID: 09330
     P O Box 2204
     Lexington, KY 40588-2204
     notices@ch13edky.com
     859-233-1527
